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                  Exhibit 30
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          Truth Details
          2462 replies


               Donald J. Trump
               @realDonaldTrump

    We are still waiting for the Foreign Student Lists from Harvard so that we can
    determine, after a ridiculous expenditure of BILLIONS OF DOLLARS, how many
    radicalized lunatics, troublemakers all, should not be let back into our Country.
    Harvard is very slow in the presentation of these documents, and probably for
    good reason! The best thing Harvard has going for it is that they have shopped
    around and found the absolute best Judge (for them!) - But have no fear, the
    Government will, in the end, WIN!
    7.02k ReTruths 30.5k Likes                                                                      May 26, 2025, 8:42 AM




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